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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT COURT OF MINNESOTA

SHEILA M. DUNN
                                                      Case No. 0:22-cv-00615-NEB-DJF
                       Plaintiff,

V.

ASSOCIATES IN PSYCHIATRY AND
PSYCHOLOGY, P.A., SETH FRANZ, AND
PRIYANK RAO,


                       Defendants.
                                                           STATEMENT INSTEAD OF
ASSOCIATES IN PSYCHIATRY AND                                REDACTED DOCUMENT
PSYCHOLOGY, P.A.

                       Counter-Plaintiff,

V.

SHEILA M. DUNN, SYNERGY FAMILY
PSYCHIATRIC SERVICES, LLC, AND
RIVER CITY PSYCHIATRIC SERVICES,
LLC


                       Counter-Defendants.

       Pursuant to Local Rule 5.6(d)(1)(A)(ii), Defendants states that Exhibits R and S to the

Declaration of Ellen A. Brinkman in Opposition to Dunn, Synergy, and River City’s Motions for

Summary Judgment contain protected health information and so is being filed under seal

pursuant to the Court’s Protective Order [Doc. No. 151]. The entire documents contain protected

health information and redaction is impracticable.

Dated: July 10, 2023                                 /s/ Luke J. Wolf______________
                                                     Ellen A. Brinkman, MN Bar No. 0386578
                                                     Erin S. Conlin, MN Bar No. 0400036
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                               and Dr. Priyanka Rao
